 

Case: 1:15-cv-03950 Document? 9 Filed: 07/17/15 Page 1 of 36 PagelD #:126
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UNITED STATES DISTRICT COURT R ECEIVED ENA

NORTHERN DISTRICT OF ILLINOIS JUL 1 7 2015
EASTERN DIVISION :

\S
"__ THOMAS G. BRUTO
N
CLERK, U.S. DISTRICT COURT

Nnakte 5S. Eu Gltst SR.

 

AMENDED ComplatnT

 

(Enter above the full name
of the plaintiff or plaintiffs in
this action)

 

VS. Case No: [5 CY 3950
(To be supplied by the Clerk of this Court)
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Depck 3. Faure JUDGE Dohw Robeet bld key

SAMUE L de Johwson
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(Enter above the full name of ALL
defendants in this action. Do not

use "et _al.")

CHECK ONE ONLY: al M EWIDE 0

~ COMPLAINT UNDER THE CIVIL RIGHTS ACT, TITLE 42 SECTION 1983

U.S. Code (state, county, or municipal defendants)

COMPLAINT UNDER THE CONSTITUTION ("BIVENS" ACTION), TITL
28 SECTION 1331 U.S. Code (federal defendants)

ty

OTHER (cite statute, if known)

 

BEFORE FILLING OUT THIS COMPLAINT, PLEASE REFER TO "INSTRUCTIONS FOR
FILING." FOLLOW THESE INSTRUCTIONS CAREFULLY.
_ Case: 1:15-cv-03950 Document Hal Air aigd: 07/17/15 Page 2 of 36 PagelD #:127

IL.

Plaintiff(s):

 

A. Name: Makte S. ENGLISH OR.
B. List al] aliases:

 

C. Prisoner identification number: B ~G ) Y 3 O

D. Place of present confinement: STa tt Ville Cobkicteal, CEA/TER
gE. Address: PO-Boxlla Jel tet, lu £0434

(If there is more than one plaintiff, then each plaintiff must list his or her name. aliases, [.D.
number, place of confinement, and current address according to the above format on a
separate sheet of paper. )

Defendant(s):

(in A below, place the full name of the first defendant in the first blank, his or her official
position in the second blank, and his or her place of employment in the third blank. Space
for two additional defendants is provided in B and C. )

A. Defendant: J ORY parlltams
Title: _ WARDEN
Place of Employment: STATE U¢Lle Copbltclreval cCevlep
B. Defendants LaveL Palmer ¥ a4
rite: PetiPEol ok Feed Sol. CobbEchawa | THER _
Place of Employment: __ WAS Jcteuitl le Cobbech wal CevieR
C. Defendant: _Degel 3. aPbusel * 127
rite: Copbecte wal eMfiace
Place of Employment: stoleuille costcchowal ce

(If you have more than three defendants, then all additional defendants must be listed
according to the above format on a separate sheet of paper.)

 

2 Revised 9/2007

 
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Case: 1:15-cv-03950 Document ij 1¢-Bied: 07/17/15 Page 4 of 36 PagelD #:129

WH.

List ALL lawsuits you (and your co-plaintiffs, if any) have filed in any state or federal
court in the United States:

A.

Name of case and docket number: | 123 ¢ ‘ui ( En [3 ~ l| gy

Approximate date of filing lawsuit: 5-E- ole [ 3

 

List all plaintiffs (if you had co-plaintiffs), including any aliases: At JE

 

 

 

 

 

 

 

Court in which the } "Oe PRA file if oe Pree name the district: if state court,
name the county): cr Peobtd OF Otte

Name x udge to whom case was assigned: nae wl UDGE
sides €. SHADTO-

Basic claim made: ia rhu& Ey _ peelect Clee Centlt i
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Disposition of this case (for example, Was the case dismissed? Was it appeal ed?

Is it still pending?):

 

 

Approximate date of disposition: auld

IF YOU HAVE FILED MORE THAN ONE LAWSUIT, THEN YOU MUST DESCRIBE THE
ADDITIONAL LAWSUITS ON ANOTHER PIECE OF PAPER, USING THIS SAME
FORMAT. REGARDLESS OF HOW MANY CASES YOU HAVE PREVIOUSLY FILED,
YOU WILL NOT BE EXCUSED FROM FILLING OUT THIS SECTION COMPLETELY,
AND FAILURE TO DO SO MAY RESULT IN DISMISSAL OF YOUR CASE. CO-
PLAINTIFFS MUST ALSO LIST ALL CASES THEY HAVE FILED.

3 Revised 9/2007

 

 
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IV. Statement of Claim:

State here as briefly as possible the facts of your case. Describe how each defendant is
involved, including names, dates, and places. Do not give any legal arguments or cite any
cases or statutes. If you intend to aliege a number of related claims, number and set forth
each claim in a separate paragraph. (Use as much space as you need. Attach extra sheets
if necessary.)

 

 

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WS! Exhibet ©
Bruce Rauner
Illinois AK Governor
Deparnne ni of ) fo | Donald Stolworthy
Corrections Director

Stateville Correctional Center
Route 53, P.O. Box 112 Telephone: (815) 727 -3607
Joliet, IL 60434 TDD: (800) 526-0844
VED

MEMORANDUM | RECE!

AN v\ nt —
DATE: 4/23/15 RATS cE

AN DAR Dp

TO: English B57430 Prev IeN
FROM: GRIEVANCE OFFICER
SUBJECT:

The attached grievance is being returned for the following reason:

It needs to be rewritten and submitted to your counselor on the attached
IDOC Offender’s Grievance form.

X__—— It was not filed within 60 days of discovery of the incident, occurrence, or
problem which gives rise to the grievance as required in DR 504F, Grievance

Procedures for Committed Persons.
Issue needs to be discussed with your counselor for possible resolution.

No issue outlined in grievance.

It appears that no attempt has been made to resolve the issue as required by DR
504F. Submit grievance to your cell house counselor.

Issue is currently being reviewed by the Office. *You will receive a copy of the
Grievance and decision when it is completed.

Issue previously addressed on. No justification for further action.

__X____ Other: Originals required for future grievances
cc: file

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ate Grievance Proceaure

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Prepared by the Uptown People’s Law Center

Quick lacts
1. Before filing a lawsuit, an inmate MUST complete the grievance process. Therefore, it is important that
all prisoners with a grievance start and complete the process as soon as possible.
2. Grievances must include as much detail as possible, including specific names, dates, and facts
3. A grievance must be filed within 60 days of the incident giving rise to the complaint.
4) If an inmate does not receive a response at any stage of the process, he/she should move along to the

next step in the process, inchiding a note as to why the prior stage was not completed
1€ prisoner is currently incarcerated, (he

5 Vf filine a prievance abouta facility other than the one where tl
EYFOVEHGS Gail bo Sent Girecury iio ARB.
6, Is VERY important to keep notes and records of any communications with prison staff about the status

of grievances.

 

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Phe Grievance rrocess
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days of the alleged incident.

Step 2: Bring the issues and the grievance form to the attention of the prison counselor. If the
counselor is unable to resolve the issue informally, follow the remaining steps.

Step 3: After obtaining the counselor’s signature, submit the grievance form to the prison’s
Grievance Officer by depositing it in the living unit mailbox or the place designated

   
 

 
  
 

by the prison.
o IMPORTANT: Keep a copy of the grievance.
o The Glevance Officer will review the gdevance and forward his/her recommendation to lie

    

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The Warden has 2? morths to respond to a pri@Vvance.

will rake the Piaal decision at the prison

Step 4: [f unsatisfied withthe Warden’s decision, appeal the decision to the Director of the
f Illinois Department of Corrections by sending your grievance to the Administrative
Review Board (ARB) within 30 days of the Warden’s decision.

o Include a copy of the Grievance Officer’s report and Warden’s decision with the appeal and

keep a copy of all documents.
o Ifthe grievance was rejected by the Grievance Officer/W arden as untimel include an
explanation of good cause with the appeal to the ARB detailing why the appeal was not

filed in time, attach any supporting notes or documentation.

 
 

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came: py the ABR erating that rou c ol’ ey MNT TE & ~ oe
vance to the ARB stating that you did not recerve a response.

 

forward a copy of your grt
o The ARB has 6 months to respond to a grievance appeal.
« [fno response Is received within 3 or 4 months, write a letter to ARB inquiring into

the progression of their decision. .

Completion of the Process: The grievance process is only complete after each of the above steps has
been taken, An inmate CANNOT file a lawsuit until he/she has completed the entire process.

 

 
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ILLINOIS DEP/:3RTMENT Caz CORRECTIONS .

Administrative Review Board
Return of Grievance or Correspondence

Offender: Lralsh LV Aate L357 SIO

LastName . ;
First N
/ st Name iDi

&X] Grievance: Facility Grievance # (if applicable)

Received: .

 

The attached grievance or correspondence is being returned for the following reasons:

 

 

Additional information required:
(1) Provide a copy of your written Offender’s Grievance, DOC 0046, including the counselor's response, if applicable.

Provide a copy of the Response to Offender’s Grievance, DOC 0047, including the Grievance Officer’ i ini i
Officers resnnnse. to Abpea. ficer’s and Chief Administrative

O
[] Provide dates of disciplinary reports and facility where incidents occurred.
C

 

Unable to determine nature of grievance or correspondence; submit additional specific information. Please return the attached
grievance or correspondence with the additional information requested to: Administrative Review Board

Office of Inmate Issues

1301 Concordia Court

Springfield, IL 62794-9277

 

 

 

Misdirected:
Contact your correctional counselor regarding this issue.

Request restoration of Statutory Sentence Credits to Adjustment Committee. If the request is denied by the facility, utilize the
offender grievance process outlined in Department Rule 504 for further consideration.
Contact the Record Office with your request or to provide additional information.

Personal property issues are to be reviewed at your current facility prior to review by the Administrative Review Board.

OOd OQ

Address concerns to: Illinois Prisoner Review Board
319 E. Madison St., Suite A
Springfield, IL 62706

 

 

No further redress:
[J Award of Supplemental Sentence Credits are di
further.

i submitted in the timeframe outlined in Department Rule 504; therefore, this issue will not be addressed further.
T

scretionary administrative decisions; therefore, this issue will not be addressed

 

his office previously addressed this issue on

 

Date
C1 No justification provided for additional consideration.

 

 

 

Other (specify):

 

 

 

 

Leslie McCarty Ly y) /S

Completed by: Leslie McCart
Signature Date

Print Name

Printed on Recycled Paper DOC 0070 (Rev.4/2013)

Distribution: Offender
Inmate Issues

 
 

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15 Page 19:af 86) pageinygias

Ls sprial Yal {.2 GY ILLINOIS DEPARTMENT OF CORRECTIONS
OFFENDER'S GRIEVANCE

 

 

 

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Preswnt Facility: oy an biz Cc co issue occured Sty trey VLE ee.

 

NATURE OF GRIEVANCE:

 

[1 Personat Property C] Mail Handling (J Restoration of Good Time C) Disability
(1 Staff Conduct 1] Dietary Medical Treatment C1) HIPAA
[1 Transfer Denial by Facility [) Transfer Denial by Transfer Coordinator (CD Other (specity):
[-] Disciplinary Report: f /

Date of Report Facility where issued

Note: Protective Custody Denials may be grieved immediately via the local administration on the protective custody status notification.

Complete: Attach a copy of any pertinent document (such as a Disciplinary Report, Shakedown Record, etc.) and send to:

Counselor, unless the issue involves discipline, is deemed an emergency, or is subject to direct review by the Administrative Review Board.
Grievance Officer, only if the Issue. involves discipline at the present facility pr issue not resolved by Counselor.

Chief Administrative Officer, only if EMERGENCY grievance.

Administrative Review Board, only if the issue invoives transfer denial by the Transfer Coordinator, protective custody, involuntary
administration of psychotropic drugs, issues from anather facility except personal BrSpenty issues, or issues not resolved by the Chief
Administrative Officer.

Brief Summary of Grievance: ©241/ cote ge XRAY get tf Jue Lh eeL/, aS
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Check only if this is an EMERGENCY grievance due to a substantial risk of imminent personal injury or other serious or irreparable hamm to seif.

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(Continue on reverse side if necessary)

 

 

| Counselor’s Response (if applicable) |

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date ’
Recelved: ([] Send directly to Grievance Officer () Outside jurisdiction of this facility. Send to
Administrative Review Board, P.O. Box 19277,
Springfieid, IL 62794-9277
Response: |
sar
Hin, 4204
WIN te
ADMINISTRATIVE ~
— AN R i
R EVIEW E BO. . D 1 /
Print Counselor's Name Counselor's Signature Date of Response
| EMERGENCY REVIEW ~ |

Date |
Received: f f 1s this determined to be of an emergency nature? ([C] Yes; expedite emergency grievance

(1 No; an emergency is not substantiated.

Offender should submit this grievance

In the normal manner.

/ /
Chief Administrative Officer's Signature Date

Distribution: Master File; Offender Page 1 DOC 0046 (Rev. 3/2005)

Printed on Recycled Paper

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ILLINOIS DEPARTMENT OF GorRECTIONS
OFFENDER'S GRIEVANCE (Continued)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Distribution: Master File; Offender

 

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DOC 0046 (Rev. 3/2005)
 

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= Ke i Yl EY ILUNOIS DEPARTMENT OF CORRECTIONS

@ 21 of 38, PAQEID 7146

OFFENDER'S GRIEVANCE

 

 

 

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NATURE OF GRIEVANCE: |
(1 Personat Property C1 Mail Handling [Restoration of Good Time ( Disabitity

 

 

 

 

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(1 Transfer Denial by Facility [1] Transfer Denial by Transfer Coordinator CD Other (specity):
(1 Disciplinary Report: i /
Date of Report Facility where issued
Note: Protective Custody Denials may be grieved immediately via the local administration on the protective custody status notification.

Complete: Attach a copy of any pertinent document (such aa a Disciplinary Report, Shakedown Record, etc.) and send to:
Counselor, unless the issue Involves discipline, is deemed an emergency, or Is subject to direct review by the Administrative Review Board.
Grievance Officer, only if the issue. involves discipline at the present facility or issue not resolved by Counselor.
Chief Administrative Officer, only if EMERGENCY grievance.
Administrative Review Board, only if the issue involves transfer denial by the Transfer Coordinator, protective custody, involuntary
administration of psychotropic drugs, issues from another facility except = property issues, or issues not resolved by the Chief
Administrative Officer.

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| Counselor’s Response (if applicable) |

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

Date
Recelved: (1 Send directly to Grievance Officer (Outside jurisdiction of this facility. Send to
Administrative Review Board, P.O. Box 19277,
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Print Counselor's Name Counselor's Signature Date of Response
| EMERGENCY REVIEW © |
Date ,
Recelved: f I Is this determined to be of an emergency nature? [_] Yes; expedite emergency grievance
i ( No; an emergency is not substantiated.
Offender should submit this grievance
in the normal manner.
/ /
Chief Administrative Officers Signature Date
Distribution: Master File; Offender Page 1 DOC 0046 (Rev. 3/2005)

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Case: 1:15-cv-03950 Document #: 14 Filed: 07/17/15 Page 22 of 36 PagelD #:147

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OFFENDER'S GRIEVANCE: (Continved) ' :

 

 

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Case: 1:15-cv-03950 Document #: 14 Filed, O7aHeRe-RAge 2RQt/agPh #:148

   
 
  
   

Alot 32 H
Pat Quinn
Illinois Governor
Department of S. A. Godinez
Corrections Director

Stateville Correctional Center
Route 53, P.O. Box 112 Telephone: (815) 727 -3607
Joliet, IL 60434 TDD: (800) 526-0844

December 2, 2014

Inmate: Mario English- B57430- M$129

 

RE: Inmate Issues
Dear Mr. English:
This is in response to your recent communication to me regarding an issue or concern
that you expressed. Your concerns are being reviewed and referred if necessary to the
appropriate individual for resolution.

If there is a need for additional information or a formal response you will be notified in
writing. | appreciate that you took the time to communicate your concerns and
observations to me.

I trust this is responsive to your request.

Sincerely

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CC: File
 

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THOMAS G. BRUTON
CLERK, U.S. DISTRICT COURT

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Aevahlt ) cause Fee A
‘ 15cv3950
Judge John Robert Blakey
// 15 _ Magistrate Judge Jeffrey T. Gilbert
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Case: 1:15-cv-03950 Document #: 14 Filed: 07/17/15 Page 25 of 36 PagelD #:150

 
   

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NATURE OF GRIEVANCE:

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Counsetor, unieuss the issue involves diecipiine, Is deemed an emergency, of is subject to direct review by the Admit tive Flevi Board.
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Chief Adminietrative Officer, only f EMERGENCY grievance. ee
Attenikatretive Revie Board, orty if the beus lywolves transter denial by the T: fes Coordis . protective cr ly y
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Received: ey Sey Sa (21 Send directly to Grievance Oticer . . 1) _Oxaaide juriadiction of nis tacility. Send to
Administrative Review Board, P.O. Box 18277,

 

Response:

 

 

 

 

Fria Counselors Name TT STITT) Souneelo’s Gignaare Date of Response

 

 

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Recelved: L i ts this dutermined to be of an emergency nature? [[] Yes; expedite emengency grievance
(CO No; an emergency is not substantiaiod.
- Offender should submit this grievance
in the nomial manner.

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Case: 1:15-cv-03950 Document #: 148led}0PQ7/15 Page 36 of 36 PagelD #:161

IN THE
UNITED STATES DISTRIC? couURT
NORTHERN DISTRICT OF ILLIVOXS

BASTERN DIVISION
Mako 5 En lity id
Plaintiff,

Case No. [5 ~ cy- 3950

v.

eee ws lhans et aL.

Defendant

Neer ee Ne

PROOF/CERTIFICATE OF SERVICE

TO; Prisoner Correspondence ofcr7o:

Onited States District Court AssistantAttorney General
219 South Dearborn Street General Law Bursay

Chicago, Illinois 60604 1 Floor

Ghieaso;Itlinois 50601

 

 

 

TO: TO:

 

 

 

 

 

 

 

 

et poh
PLEASE TAKE NOTICE that on DULY (2, 2045,, Ihave placed the

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documents listed below in the institutional mail at Stateville Correctional Center,
properly addressed to the parties listed above for Batting through the United States Postal

Service: @) pRiave Gt MESICANDEME fhN AME) DE) Co pf ar- 7 3a pGe.

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Pursuant to 28 USC 1746, 18 USC 1621 or 735 ILCS 5/1-109, I declare, under penalty of
perjury, that Iam a named party in the above action, that I have read the above
documents, and that the information contained therein is true and correct to the best of my

knowledge.

cl’ .
DATE: Dull 15" 2018 js) Macey S Suglah Je.
NAME: Méte ¥ ZiGliH JP
iDoc#:__B-S24%

Stateville Correctional Center
P.O. BOX 112
Joliet, yy, ©0434

on behalf of the plaintiff
‘his request of me.
PIS -2.27~-3b07

 

 

Sevised February 2005
